
*977OPINION.
Morris
: In this appeal the sole question presented by the evidence is whether the transfer by the taxpayer of his stock to his wife was a mere subterfuge whereby he sought to evade a tax upon a profit realized from the sale of his interest in the Gem safety razor business. Upon this point, we are clear. The taxpayer prior to the consummation of the sale of the business made a gift of the property he then owned, namely, his stock in the Gem Safety Razor Corporation, to his wife, and from the moment of that gift his wife exercised entire dominion over the stock so given. She sold it, she received the proceeds, and, except in very minor particulars, has retained those proceeds not only as her own property but, so far as the record discloses, without in any way directly or indirectly contributing to the benefit of the taxpayer. She did reimburse her husband for expenditures made by him upon their summer home in New Hampshire, which home was acquired and is still owned by her and in her own separate right, and she did acquire a home in which they both reside in New York City. This ivas, however, in her own name and retained as her separate property.
We find nothing in the record to indicate that the transaction was other than one involving the absolute gift of stock and the subsequent sale thereof by the donee from which the taxpayer did not realize taxable gain.
On reference to the Board, Arundell did not participate.
Korner, Marquette, Smith, and Trussell dissent.
